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       IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                            CENTRAL DIVISION




UNITED STATES OF AMERICA,
      Plaintiff,                            REPORT AND RECOMMENDATION


            vs.


Miguel Carrera, et al.,                     Case No. 2:05-CR-895 DAK
      Defendants.




     Upon motion of several defendants in this case, the court

held a James hearing on May 3, 2007, regarding the admissibility

of alleged co-conspirators’ statements.        See United States v.

James, 590 F.2d 575 (5th Cir.), cert. denied, 442 U.S. 917

(1979).   In addition to allowing evidence to be presented at the

hearing, the court gave defendants’ counsel an opportunity to

present oral argument.     The court received memoranda from two

defendants and the government following the James hearing.

     Having reviewed the parties’ pleadings, and having held the

James hearing, the court enters this report and recommendation.

                               BACKGROUND

     Several defendants in this case, including Eric Angell and

Francisco Valencia, filed motions requesting a James hearing.

(Docket Entries #329, 332, 333, 335, 408.)        The defendants’
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motions were granted, and on May 3, 2007, the court held a James

hearing.    (Docket Entry #553; Official Transcript of May 3, 2007

James Motion Hearing (hereafter referred to as “Tr. __”).)           The

court ordered that all defendants who had not entered guilty

pleas be present at the hearing.        As a result, Defendants Mark

Robles, Francisco Valencia, Javier Segura, Miguel Carrera,1

Jeffrey Thiemig, and Christopher Duell attended the hearing.

Defendant Eric Angell did not attend the hearing, but his

attorney was present and waived Defendant Angell’s appearance.

All of the defendants had counsel present except for Defendant

Theimig.2

     Subsequently, on May 16, 2007, two defendants, Francisco

Valencia and Christopher Duell, each filed a memorandum regarding

the James analysis.     (Docket Entries #529, 532.)      The government

filed its response to those memoranda on May 22, 2007.          (Docket

Entry #535.)    None of the other defendants involved in the James

hearing filed a memorandum regarding the James hearing and Rule

801(d)(2)(E) analysis, nor did any of those defendants file a


     Defendant Carrera and his counsel left the courtroom at the
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beginning of the hearing at the request of his counsel because
Defendant Carrera planned to enter a plea of guilty. Therefore,
Defendant Carrera and his attorney did not participate in the
evidentiary aspect of the James hearing.

     Defendant Theimig’s current counsel was not appointed to
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represent Defendant Theimig until April 17, 2007. (Docket Entry
#475.) As a result, the court is allowing Defendant Theimig’s
current counsel time to review the extensive materials in this
case and to file his motions by August 10, 2007. (Docket Entry
#576.)

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notice that they were joining in the memoranda submitted by

Defendants Valencia and Duell.      As a result, the court examines

only Valencia, Duell, and the government’s arguments contained in

the memoranda submitted to the court in determining whether the

alleged co-conspirators’ statements should be admissible.

                                ANALYSIS

     Under Rule 801(d)(2)(E) of the Federal Rules of Evidence, a

“statement is not hearsay if . . . [t]he statement is offered

against a party and is . . . a statement by a coconspirator of a

party during the course and in furtherance of the conspiracy.”

Before admitting evidence under Rule 801(d)(2)(E), the court must

determine that three elements have been met.         First, “by a

preponderance of the evidence, a conspiracy existed, [second] the

declarant and the defendant were both members of the conspiracy,

and [third] the statements were made in the course of and in

furtherance of the conspiracy.”         United States v. Urena, 27 F.3d

1487, 1490 (10th Cir.), cert. denied, 513 U.S. 977 (1994); see

also United States v. Owens, 70 F.3d 1118, 1123 (10th Cir. 1995).

One of the ways a district court may make these determinations is

by holding a James hearing outside the presence of a jury.           See

Urena, 27 F.3d at 1491.

     As discussed above, because the government seeks to admit

coconspirator statements under Rule 801(d)(2)(E), this court held

a James hearing on May 3, 2007.       At the hearing, counsel and the

court agreed that the court, at this stage, would focus on the

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first two of the three elements of Rule 801(d)(2)(E).          Therefore,

in this report and recommendation, the court will determine

whether (1) a single conspiracy existed and (2) whether the

declarant and the defendants still involved in this case were

members of the conspiracy.      The third element, whether the

statements were made in the course of and in furtherance of the

conspiracy, will need to be addressed at trial.         Thus, the court

addresses the first two elements of Rule 801(d)(2)(E) below.

     The court confines its determinations to Defendants Angell,

Robles, Duell, Valencia, and Segura because these five defendants

were the only defendants who participated in and were represented

by counsel at the James hearing.        The court does not make a

ruling as to Defendant Theimig because Theimig’s attorney did not

attend the James hearing, prompting the court to stop the

government from questioning Agent Crosby about specific instances

involving Theimig.     (Tr. 42.)   Also, the court does not focus on

Defendant Carrera’s involvement because Carrera and his attorney

left the courtroom before the evidentiary part of the James

hearing began.     (Tr. 7-8.)

              A.    Whether A Single Conspiracy Existed

     In their memoranda, both Defendants Valencia and Duell

challenge whether the government has proven that a single

conspiracy existed in this case.        Both Defendant Valencia and

Defendant Duell argue that the government has set forth evidence

showing that two distinct conspiracies, rather than one, existed.

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     Before addressing Defendants’ arguments, the court first

examines whether the government has set forth adequate evidence

to show that a conspiracy existed.       As both the government and

Defendant Valencia point out in their memoranda, to prove a

conspiracy, the government must show “‘[1] that two or more

persons agreed to violate the law, [2] that the defendant knew at

least the essential objectives of the conspiracy, . . . [3] that

the defendant knowingly and voluntarily became a part of it,’ and

[4] that the alleged coconspirators were interdependent.”           United

States v. Evans, 970 F.2d 663, 668 (10th Cir. 1992) (internal

quotations omitted).     The defendants’ agreement to violate the

law – in this case, to distribute methamphetamine - can be

inferred from the defendants’ acts.       See id. 970 F.2d at 669 n.9;

United States v. Peveto, 881 F.2d 844, 856 (10th Cir. 1989).

     Applying the four elements of a conspiracy to the evidence

presented by the government at the James hearing, the court

concludes that the government has established by a preponderance

of the evidence that a conspiracy existed among the defendants

who remain in this case.     DEA Special Agent David Crosby

testified that the defendants were involved in a conspiracy to

distribute methamphetamine from sometime before March 1, 2005, to

November 13, 2005, when Defendant Carrera was shot.          (Tr. 11-54.)

Agent Crosby testified that several people agreed to violate the

law by participating in the distribution of methamphetamine.

(Tr. 53.)   Specifically, Agent Crosby testified as to the roles

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Defendants Robles, Angell, Duell, Valencia, and Segura, as well

as Carrera, Theimig, Nunley, Morfin, Medina, Marvidikis,

Martinez, Gaona, Housekeeper, Espitia, Duarte, Beauchaine, Lowry,

and Padilla, among others, had in the distribution conspiracy.

(Tr. 35-54.)    Agent Crosby testified that these individuals had

various roles in the conspiracy, such as suppliers, Defendant

Carrera’s employees, or customers, or as in the case of Defendant

Lowry, as a customer of Defendant Valencia.        (Tr. 35-54.)

     In addition, Agent Crosby’s testimony established by a

preponderance of the evidence that each of the five defendants at

issue here knew at least the essential objective of the

conspiracy, which was to distribute methamphetamine.          In

examining the roles of Defendants Angell, Robles, Duell,

Valencia, and Segura, which are currently at issue, Agent

Crosby’s testimony sets forth information regarding each of their

roles to adequately establish that each of these defendants knew

that he was participating in a conspiracy to distribute

methamphetamine.    According to Agent Crosby’s testimony, the

government intercepted phone calls between Angell and Carrera

concerning Angell’s acquisition of methamphetamine.          (Tr. 39.)

Further, Agent Crosby testified that Angell himself admitted to

purchasing methamphetamine from Carrera, and that he in turn gave

that methamphetamine to Defendant Robles.        (Tr. 39.)    Angell also

admitted that he had received methamphetamine from both Robles

and Carrera and that he had been involved in the manufacture of

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methamphetamine.    (Tr. 39-40.)    According to Agent Crosby, Angell

further admitted that the transactions he conducted with Carrera

on Robles’ behalf were for four ounces of methamphetamine apiece,

an amount that is consistent with redistribution, rather than

personal use.    (Tr. 36, 40.)    Agent Crosby testified that Angell

admitted that he received an eight ball or a quarter ounce of

methamphetamine from Carrera and Robles for acting as the

middleman in brokering transactions between Carrera and Robles.

(Tr. 41.)   Agent Crosby testified that Angell also admitted that

he had purchased drugs from Defendant Housekeeper on one or two

occasions before he was introduced to Carrera.         (Tr. 40.)

Angell’s behavior, including the manufacture of methamphetamine

and the brokering of transactions between Carrera and Robles,

adequately established that Angell knew he was participating in a

conspiracy to distribute methamphetamine.

     Agent Crosby’s testimony also sets forth information to

adequately establish that Defendant Robles knew he was

participating in a conspiracy to distribute methamphetamine.

Agent Crosby testified that Robles was purchasing methamphetamine

from Carrera, with Angell acting as the conduit for the

transactions between Carrera and Robles.        (Tr. 36.)    Agent Crosby

testified that at some point, Robles began conducting

transactions directly with Carrera himself.        (Tr. 36.)    Agent

Crosby testified that Angell admitted that on four occasions he

received four ounces of methamphetamine from Carrera that he then

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passed along to Robles.     (Tr. 36.)    Agent Crosby also testified

that four ounces of methamphetamine is a quantity consistent with

redistribution rather than personal use.        (Tr. 36.)    Agent Crosby

testified that Robles also admitted to purchasing methamphetamine

from Carrera and corroborated that Angell had been acting as the

conduit for the transactions in the beginning, but that Robles

later dealt directly with Carrera.       (Tr. 37.)    Agent Crosby

testified that Carrera also corroborated Angell and Robles’

statements.   (Tr. 37-38.)     According to Agent Crosby, Robles

admitted to having done approximately four or five transactions

directly with Carrera, and that those deals were between two and

four ounces apiece.     (Tr. 38.)   Agent Crosby testified that

Robles also admitted that Angell had purchased drugs for Robles

from Carrera on four occasions and that those transactions were

for approximately four ounces apiece.        (Tr. 38.)   Robles’

behavior, involving the purchasing of methamphetamine from

Angell, and then directly from Carrera, for quantities that were

consistent with redistribution, adequately establishes that

Robles knew he was participating in a conspiracy to distribute

methamphetamine.

     Agent Crosby’s testimony also adequately establishes that

Defendant Duell knew he was participating in a conspiracy to

distribute methamphetamine.      Agent Crosby testified that prior to

the initiation of the wiretap in August 2005, the government had

seen telephone records with Duell’s name on them, indicating that

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Carrera was in frequent contact with a telephone subscribed to by

Duell.    (Tr. 44.)   Agent Crosby testified that after the

government initiated the wiretap, it learned that Carrera was, in

fact, talking with Duell and supplying him with methamphetamine.

(Tr. 44.)    Agent Crosby testified that the government also

learned that Duell was assisting Carrera with cars being

registered in his name that were used by Carrera, and that Duell

assisted in other ways by actually driving or going with Carrera

when Carrera was distributing and acting as a conduit for sales

of methamphetamine to someone in Wyoming.        (Tr. 45.)    Agent

Crosby testified that on one specific occasion, on August 27,

2005, intercepted telephone calls revealed that Carrera asked

Duell to deliver four ounces of methamphetamine to someone named

Burt.    (Tr. 45-46.)   Agent Crosby testified that Carrera gave

Duell the four ounces, but then asked for two of those ounces

back because Carrera needed two ounces to distribute to someone

else.    (Tr. 45-46.)   Agent Crosby testified that during the

interception starting in October 2005, there were numerous

telephone calls between Carrera and Duell, almost on a daily

basis.    (Tr. 46.)   On October 28, 2005, Duell asked Carrera in a

telephone call for “a whole one,” or one ounce of

methamphetamine, for which he was going to pay $600.          (Tr. 46.)

Agent Crosby testified that on November 2, 2005, a phone call

between Carrera and Duell was intercepted in which Duell talked

about the delivery of a whole one, and that he had the money for

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one.    (Tr. 46.)   Agent Crosby testified that surveillance agents

then followed Espitia and saw him meeting with Duell.           (Tr. 46.)

Agent Crosby testified that Espitia worked for Carrera by driving

Carrera places, making deliveries for him, picking up money for

him, and helping package drugs.       (Tr. 46.)    Agent Crosby

testified that after Duell was arrested, he admitted to being

supplied with methamphetamine by Carrera.         (Tr. 47.)   Agent

Crosby testified that Duell admitted that through his

relationship with Carrera, Duell had met several of Carrera’s

associates, including Medina, and that he had seen Medina at

Carrera’s house on several occasions and thought of Medina as

Carrera’s partner.     (Tr. 47.)    Agent Crosby testified that Duell

admitted that on occasions he would drive Carrera to pick up

methamphetamine, and that Duell identified Ignacio Martinez,

among others, as someone who worked for Carrera.          (Tr. 47.)

Duell’s behavior, including purchasing methamphetamine,

delivering methamphetamine to someone else at the request of

Carrera, and providing Carrera with cars that Carrera could use

in his drug transactions, adequately establishes that Duell knew

he was participating in a conspiracy to distribute

methamphetamine.

       Agent Crosby’s testimony also provided sufficient evidence

that Defendant Valencia knew he was participating in a conspiracy

to distribute methamphetamine.       Agent Crosby testified that phone

calls were intercepted between Carrera and Segura regarding

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requests for quantities of methamphetamine and prices for those

drugs, during which the two referenced a third person known as

Lalo, who the government was able to identify as Valencia.           (Tr.

24, 27-28, 30.)     Agent Crosby testified that the government

collected telephone records for Valencia, and the government saw

a pattern that when Carrera would contact Segura requesting a

quantity of methamphetamine, Segura and Valencia would then have

contact through their telephones.         (Tr. 30, 31-32.)   Agent Crosby

testified that this pattern occurred almost every day during the

wire interception.     (Tr. 31, 49.)      Agent Crosby testified that

Segura was getting his drugs from Valencia, that Valencia would

actually be present at some of the transactions between Carrera

and Segura, or that Segura would direct Carrera to meet with

Valencia to get the drugs directly from Valencia.          (Tr. 50.)

Agent Crosby testified that Valencia and Segura were Carrera’s

sole source of methamphetamine from October 28, 2005, to November

13, 2005.    (Tr. 34, 35, 49, 50.)       Agent Crosby testified that

Valencia and Segura continued supplying Marvidikis, one of

Carrera’s customers, after Carrera was shot on November 13.            (Tr.

49.)    Agent Crosby testified that Valencia and Carrera’s

relationship was based solely on the acquisition and distribution

of methamphetamine.     (Tr. 54.)

       Agent Crosby also testified about an incident that occurred

on November 10, 2005, when surveillance was conducted of

Valencia.    (Tr. 33, 52.)    Valencia was followed from his

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residence, and surveillance agents then observed Valencia meeting

with Scott Lowry.     (Tr. 33.)    The surveillance agents then

followed Lowry, stopped Lowry, and seized from Lowry

approximately 28 grams of methamphetamine.         (Tr. 33.)    Lowry

admitted that he had received the methamphetamine from Valencia

just before the police stopped him, that Valencia was his supply

source for methamphetamine, that he had been purchasing

methamphetamine from Valencia on a daily basis, and that he paid

Valencia $600 for one ounce of methamphetamine.          (Tr. 33.)

      Thus, Agent Crosby’s testimony regarding Valencia adequately

establishes that Valencia knew he was participating in a

conspiracy to distribute methamphetamine.         Valencia interacted

with Segura and Carrera to supply Carrera quantities of drugs

that would allow Carrera to redistribute those drugs to other

individuals.    Valencia’s knowledge that Carrera was

redistributing the methamphetamine is further shown by Agent

Crosby’s testimony that after Carrera was shot, Valencia

continued to supply Marvidikis, one of Carrera’s customers, with

methamphetamine.

      In addition, Agent Crosby’s testimony adequately establishes

that Defendant Segura knew he was participating in a conspiracy

to distribute methamphetamine.       Agent Crosby testified that

Carrera had a relationship with Segura from October 28, 2005, to

November 13, 2005, when Carrera was shot.         (Tr. 23, 34, 49, 60.)

Agent Crosby testified that Carrera and Segura’s relationship was

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based solely on the acquisition and distribution of

methamphetamine.     (Tr. 49, 54.)    Agent Crosby testified that when

the government reinitiated the interception of Carrera’s

telephone in late October 2005, they quickly saw a pattern of

customers calling Carrera requesting quantities of

methamphetamine, then Carrera contacting Segura requesting that

same quantity of methamphetamine or additional quantities of

methamphetamine.     (Tr. 24-27.)    This pattern continued on an

almost daily basis until November 13, 2005, when Carrera was

shot.   (Tr. 27, 49.)    As discussed above, Carrera and Segura also

would discuss Valencia, who was Segura’s supplier of the

methamphetamine.     (Tr. 24.)   Also as discussed above, Agent

Crosby testified that after Carrera contacted Segura regarding

the purchase of a quantity of methamphetamine, Segura would then

contact Valencia.     (Tr. 30-32.)    Agent Crosby testified that the

person who held the operation together was Segura.          (Tr. 54.)

Thus, Agent Crosby’s testimony regarding Segura provided adequate

evidence that Segura knew he was participating in a conspiracy to

distribute methamphetamine.

      Furthermore, Agent Crosby’s testimony established by a

preponderance of the evidence that each of the five defendants at

issue here knowingly and voluntarily became a part of the

conspiracy.    As outlined above, Agent Crosby testified regarding

the roles those five defendants played in the conspiracy to

distribute methamphetamine.      The evidence adequately established

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that each defendant knew that he was contributing to the

conspiracy.    The evidence adequately established that the

defendants were providing others with quantities of

methamphetamine large enough for redistribution, or were

otherwise facilitating methamphetamine transactions.          In

addition, no evidence has been presented that any defendant’s

contribution to the conspiracy was not voluntarily made.

      Finally, Agent Crosby’s testimony also provided sufficient

evidence that the alleged coconspirators were interdependent.

Agent Crosby’s testimony described a network of individuals who

were each needed to perform a function to accomplish the common

goal of methamphetamine distribution.        For example, Agent

Crosby’s testimony revealed that Defendants Valencia and Segura

were selling a large quantity of methamphetamine to Carrera

because Carrera would buy it and then resell it to other

defendants, such as Duell, Robles, and Marvidikis,, who would buy

it, and sometimes had even requested a certain quantity of

methamphetamine from Carrera before he bought it from Valencia

and Segura.    Thus, the defendants were mutually interdependent on

the others to make the whole methamphetamine distribution operate

in the way that it did.

      In conclusion, Agent Crosby’s testimony established by a

preponderance of the evidence each of the elements necessary to

show that Defendants were involved in a conspiracy to distribute

methamphetamine.     As outlined above, Agent Crosby’s testimony

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described how Defendants agreed to violate the law, set forth

that Defendants knew at least the conspiracy’s essential

objective to distribute methamphetamine, set forth that

Defendants knowingly and voluntarily became a part of the

conspiracy to distribute methamphetamine, and described a network

in which Defendants and others were interdependent on each other

to make the whole methamphetamine distribution operate in the way

that it did.

      The court next addresses the argument raised by Defendants

Valencia and Duell that Agent Crosby’s testimony established that

there was not one single conspiracy, but rather that at least two

distinct conspiracies existed in this case.         Valencia argues that

Carrera effectively ended the prior conspiracy he had involving

Morphin and Medina, his prior methamphetamine suppliers, in

August 2005, and he did not begin the alleged conspiracy with

Valencia until November 1, 2005.         Valencia argues that no

evidence has been shown that he knew of the prior conspiracy,

that he intended to join it, or that he was interdependent with

the members of the prior conspiracy.         Similarly, Defendant Duell

argues that Agent Crosby’s testimony revealed that the

Morphin/Medina network was separate from the Valencia/Segura

network, and therefore two separate conspiracies were discussed

in Agent Crosby’s testimony.

      The Tenth Circuit has explained:



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           “To find a single conspiracy, the jury must
           be convinced beyond a reasonable doubt that
           the alleged coconspirators possessed a
           common, illicit goal. Proof of separate
           transactions does not necessarily establish
           multiple conspiracies. Rather, it must be
           determined whether such activities
           constituted essential and integral steps
           toward the realization of a common, illicit
           goal.”

Owens, 70 F.3d at 1126 (citation omitted).         “‘[L]apses of time,

changes in membership, or shifting emphases in the locale of

operations [do not] necessarily convert a single conspiracy into

multiple conspiracies.’”      United States v. Roberts, 14 F.3d 502,

511 (10th Cir. 1993) (citation omitted).        Although the occurrence

of separate transactions is a factor to consider, whether the

activities of several individuals constituted essential and

integral steps toward the realization of a common, illicit goal

is the ultimate question.      See Owens, 70 F.3d at 1126.       It is not

necessary that each member of the conspiracy know each other

member, so long as each is working toward a common goal.           United

States v. Gonzalez, 940 F.2d 1413, 1422 (11th Cir. 1991), cert.

denied, 502 U.S. 1047 and 1103 (1992).        Further, “[a] single

conspiracy may be found where there is a ‘key man’ who directs

the illegal activities, while various combinations of other

people exert individual efforts towards the common goal.”           Id.

      In this case, Agent Crosby’s testimony was that initially

the primary source for Carrera’s drugs was Medina, who was

getting his drugs from Morfin in California.         (Tr. 48.)    Agent


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Crosby testified that Morfin’s relationship with Medina soured

because Medina failed to pay a drug debt; but before that

occurred, Morfin had been introduced to Carrera.          (Tr. 48.)

Agent Crosby testified that because Morfin viewed Carrera and

Medina as somewhat of a partnership, Morfin then put that drug

debt on Carrera, who eventually tried to pay that drug debt in

turn and began dealing directly with Morfin for the supply of

drugs.    (Tr. 48.)   Agent Crosby testified that ultimately

Carrera’s relationship with Morfin soured, and Carrera needed to

find alternative sources for his methamphetamine, which

ultimately led to his relationship with Segura and Valencia.

(Tr. 49.)    Carrera’s relationship with Segura and Valencia ended

when Morfin shot Carrera on November 13, 2005.          (Tr. 34, 49.)

       Agent Crosby’s testimony reveals that although Carrera’s

supplier of drugs changed around the end of October 2005, much of

the network remained fairly intact.        For example, Agent Crosby

testified that Robles was involved with Carrera’s trafficking

operation “between August of 2005 and November of 2005.”           (Tr.

39.)    According to Agent Crosby’s testimony, Duell’s involvement

with Carrera’s drug trafficking started even before August 2005,

and continued into November 2005.        (Tr. 44-47.)    Therefore, at

least some of Carrera’s regular buyers continued to buy

methamphetamine from Carrera both when he was obtaining it from

Morphin and when he was obtaining it from Segura and Valencia.

Moreover, it is immaterial that some members of the conspiracy

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did not know other members of the conspiracy.         In addition, as

set forth in detail above, Agent Crosby’s testimony provides

evidence establishing that Segura and Valencia were aware that

they were supplying methamphetamine into a network for

distribution.    Thus, when they started selling methamphetamine to

Carrera, they joined his purpose and conspiracy of distributing

the methamphetamine.     That Carrera had more than one team as a

supplier and more than one purchaser during the relevant time

period does not fracture the conspiracy into two or more

conspiracies.    Also, none of the defendants has offered any proof

of a knowing and intentional termination of his participation in

the ongoing conspiracy prior to his arrest.

      Although the court has carefully considered the lapse in

time in the evidence presented between when Morphin and Medina

acted as Carrera’s suppliers and when Valencia and Segura acted

as Carrera’s suppliers, in light of all the evidence presented,

the court concludes that the government has presented adequate

evidence that the activities of these five defendants constituted

essential and integral steps toward the realization of a

continuing, common, illicit goal, which was the distribution of

methamphetamine.     See Owens, 70 F.3d at 1126.      Each of the five

defendants, including Valencia and Duell, knew of the common goal

of distributing methamphetamine and voluntarily contributed to

that goal.    As a result, the court rejects Defendants Valencia

and Duell’s arguments and instead concludes that sufficient

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evidence has been presented to allow a reasonable jury to

conclude beyond a reasonable doubt that a single conspiracy

existed in this case.      Consequently, the court rejects Defendants

Valencia and Duell’s arguments and instead concludes that the

evidence presented shows that a single conspiracy to distribute

methamphetamine existed from at least March 2005 to November 13,

2005.

           B.   Whether the Declarant and Defendants Were
                      Members of the Conspiracy

      The second element the court must consider is whether the

declarant and the defendants still involved in this case were

members of the conspiracy.      See Urena, 27 F.3d at 1490.

      The government provided the court and Defendants with a

packet of statements it desires to admit into evidence.           The

court has already concluded in its analysis above that Agent

Crosby’s testimony provided adequate evidence that the defendants

still involved in this case were members of the conspiracy.             None

of the defendants involved in this case has disputed that the

statements offered by the government should not be admitted

because the declarant and the defendants were not members of the

conspiracy.     In addition, the court has reviewed the statements

and concludes that the government has shown by a preponderance of

the evidence that the declarant and the five defendants at issue

were members of the conspiracy.       As a result, the court concludes




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that the government also has met the second element of the Rule

801(d)(2)(E).

                      FINDINGS AND RECOMMENDATION

      Based on the above analysis, the court finds that the

government has met, by a preponderance of the evidence, the first

two required elements of Rule 801(d)(2)(E) of the Federal Rules

of Evidence.

      First, Defendants Valencia and Duell argue that the

testimony offered at the James hearing demonstrated that multiple

conspiracies, rather than a single conspiracy existed.           However,

based on the analysis above, the court finds that the government

has presented evidence showing by a preponderance of the evidence

that a conspiracy existed.      In addition, the court finds that

sufficient evidence has been presented to allow a reasonable jury

to conclude, beyond a reasonable doubt, that only one conspiracy,

rather than multiple conspiracies, existed.

      Second, the court finds that the government has established

by a preponderance of the evidence that Defendants Eric Angell,

Mark Robles, Francisco Valencia, Christopher Duell, and Javier

Segura were members of the conspiracy.        The court’s

determination, however, does not limit the conspiracy to only

these named individuals.

      The third required element of Rule 801(d)(2)(E), whether the

statements were made in the course of and in furtherance of the

conspiracy, will need to be addressed at trial.

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      Based on the above, IT IS HEREBY RECOMMENDED THAT THESE

FINDINGS BE ADOPTED BY THE COURT.

      Copies of the foregoing report and recommendation are being

mailed to the parties who are hereby notified of their right to

object to the same.     The parties are further notified that they

must file any objections to the report and recommendation, with

the clerk of the district court, pursuant to 28 U.S.C. § 636(b),

within ten (10) days after receiving it.        Failure to file

objections to both factual and legal findings may constitute a

waiver of those objections on subsequent appellate review.

           DATED this 13th day of July, 2007.

                             BY THE COURT:




                             Samuel Alba
                             United States Chief Magistrate Judge




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